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                 COMPOSITE
                  EXHIBIT 5

               Third Ring of Websites
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                      EXHIBIT 5.1
                      Homepage of
                     <freemovies.tv>
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                      EXHIBIT 5.2
                    Homepage of
                  <canalporno.com>
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                      EXHIBIT 5.3
                     Homepage of
                    <prendiporno.tv>
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                      EXHIBIT 5.4
                     Homepage of
                    <pornodrome.tv>
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                      EXHIBIT 5.5
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                    <nedporno.com>
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                      EXHIBIT 5.6
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                    <guterporn.com>
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                      EXHIBIT 5.7
                     Homepage of
                   <sexoquente.com>
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                      EXHIBIT 5.8
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                     <filmikiporno.tv>
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                      EXHIBIT 5.9
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                    <megaporno.tv>
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                     EXHIBIT 5.10
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